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RILEY A. CLAYTON
Nevada Bar No. 005260

rclagon@lawhjc.com

HALL JAFFE & CLAYToN, LLP
7425 PEAK DRlVE
LAS vEGAS, NEVADA 89128
(702) 316-4111
FAx (702)316-4114

Atlorneysfor Defendants,
State Farm Mutual Aul‘omobile Ins. C0.

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
WENDY EVELAND-BLACK, individually, CASE NO.:
Plaintiff,
vs. PETITION FOR REMOVAL

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, an entity licensed to
do business in Nevada; DOES I through X; and
ROE CORPORATIONS XI through XX,
inclusive,

Defendants.

 

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

DISTRICT OF NEVADA

Defendant, State Farm Mutual Automobile Insurance Company (“State Farm”), by and through
its attorneys, Hall Jaffe & Clayton, LLP, hereby removes this action to the United States District Court
for the District of Nevada.

The basis of removal is as follows:

l. This Court has original jurisdiction over the subject matter of this action under the
provisions of 28 U.S.C. § 1332 in that there is complete diversity between the parties and more than
$75,0()0 in controversy, exclusive of interest and costs.

2. State Farrn is a defendant in the above-entitled action now pending in the Eighth J udicial
District Court, Clark County, Nevada, Case No. A-18-7753901C., State Farm is,an Illinois corporation ,, ,,

with its principal place of business in that state, and is authorized to transact insurance under the laws of

 

 

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the State of Nevada. Plaintiff, Wendy Eveland-Black (hereinafter “Plaintiff”), is a citizen of the state of
Nevada.

3. With respect to the amount in controversy, the allegations in the complaint coupled with
the documents contained in the claims frle, all of which are fully included by reference herein, establish
an amount in controversy is in excess of $75,000. This case stems from an 2012 rear end accident,
which Plaintiff characterizes in her complaint as a "serious motor vehicle collision." Plaintiff claims that
she was seriously injured as a result of the accident, and that she underwent chiropractic treatment,
received multiple MRIs, and then ultimately underwent lumbar facet injections and cervical
transforaminal epidural steroid inj ections. The complaint indicates that Plaintiff has incurred over
$53,700 in medical specials. The Plaintiff demanded the $50,000 UIM limit from State Farm. State
Farm has not paid any amount under its UIM policy. The complaint seeks the $50,000 amount in UIM
coverage for breach of contract; plus additional damages in excess of 315,000 for allegedly violating the
implied covenant of good faith and fair dealing; plus additional damages in excess of $15,000 for
allegedly violating NRS 686A.310; plus unspecified exemplary or punitive damages.

Respectiully, the allegations in the complaint, coupled with the documents contained in the
claims frle, which is incorporated in full by this reference, confirm that there is an amount in controversy
well in excess of the federal diversity jurisdiction threshold, i.e., at least $80,000, not including punitive
damages. See e.g., Hunter v. Unitea’ Van Lz'nes, 746 F.2d 635 (9th Cir. 1984) (holding that in cases
involving a single plaintiff, the aggregate value of the plaintiffs claims may be used to meet the $75,000
amount in controversy requirement). As such, removal to federal court based upon diversity jurisdiction
grounds is appropriate

According to McCaa v. Mass. Mut. Lz'fe Ins. Co., 330 F. Supp. 2d. 1143 (D. Nev. 2004), this
Court may also consider insurance bad faith verdicts in Nevada as further evidence in establishing the
requisite amount in controversy. Representative verdicts include: Tracy v. American Famz'ly, 2:09-cv-
01257-GMN-PAL (in a September 2010 insurance bad faith case, the jury just awarded $50,000 for
breach of contract, and then awarded an additional $150,000 in “general damages” for violation of NRS
686A.310; no award for punitives); Repul)lic Ins. Co. v. Hires, 107 Nev. 317 (1991) (in an insurance bad

faith case, the jury awarded $450,000 for compensatory damages and $22.5 million for punitive

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damages); Guarcmly Nat ’l v. Pol‘ter, 112 Nev. 199 (1996) (in an insurance bad faith case, the jury
awarded $75,000 for general compensatory damages even though the insureds were “out-of-pocket” only
$4,000; and awarded punitive damage award of $1,000,000); Albert H Wholers & Co. v. Bartgz's, 114
Nev. 1249 (1998) (in an insurance bad faith case, the jury awarded $8,757 for “out-of-pocket” damages;
$750,000 for general damages; and $7,500,000 in punitive damages against the insurance company);
Merrick v. Paul Revere Life, 594 F. Supp. 2d 1168 (D. Nev. 2008) (in an insurance bad faith case, the
jury awarded $30,000,000 in punitive damages). When all of this evidence is taken together, it is clear
that the amount in controversy requirement has been met. As such, removal to federal court based upon
diversity jurisdiction grounds is appropriate

4. The Notice of Removal is timely. Service of the Complaint upon State Farm was
effected by service upon the Commissioner of Insurance of the State of Nevada on June 28, 2018.

5. Copies of Plaintiff`s Complaint, Sumrnons, and Proof of Service, with respect to State
Farm are attached hereto as “Exhibit A - Summons, Complaint and Service Docs.” This constitutes all
of the papers and pleadings served on State Farm.

6. State Farm has concurrently filed a copy of this Petition of Removal with the Clark
County District Court Clerk, and has served a copy of this upon Plaintiff.

Based on the foregoing, Defendant State Farm hereby removes the above action now pending in
District Court, Clark County, Nevada, Case No. A-18-775390-C, to this Court.

DATED this 17 h day of July, 2018.
HALL JAFFE & CLAYTON, LLP

By

 

\.,,

RILEY A. CLAjt/toN / '
Nevada Bar No. 005260

7425 Peak Drive

Las Vegas, Nevada 89128
Attorneysfor Defendant

State Farm Mutual Automobile Ins. Co.

 

 

 

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CERTIFICATE OF E-SERVICE
Pursuant to Rule 5(b) of the F ederal Rules of Civil Procedure, I hereby certify under penalty of

perjury that I am an employee of HALL JAFFE & CLAYTON, LLP, and that on the <`>`U\\\` of July,
2018, the foregoing PETITION FOR REMOVAL, was served upon the parties via the Court’s e-filing
and service program, addressed as follows:

Mark G. Henness, Esq.

Jacob S. Smith, Esq.
HENNESS & HAIGHT
8972 Spanish Ridge Avenue
Las Vegas, Nevada 89148

Attorneysfor Plozz'ntijjr

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An Emp loy ee off
HALL JAFFE & CLAYTO LLP

 

 

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“Exhibit A - Summons and Service Docs.”

“Exhibit A - Summons and Service Docs.”

 

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DISTRICT COURT ' jun 23 g(_r,g
CLA'RK` C_OUNTY, NEVADA

 

 

 

 

DlVlS|ON OF lNSUF<ANCE
STATE CF NEVADA

 

 

 

WEN.DY ;EVELAND-BLACK, i-ndivi'dually,

Plaintiffs,

vs. .

Case No.:- A~`18-775390-C
STATE FARM MUT-UAL AUTOMOBILE 'Dept. No.: XXX

INSURANC-E COMPANY, an entity licensed to _

do business in Nevada; DOES I through X; and 'S U M M 0 N S

ROE COR__PORA.T-IONS, XI through XX, l

inclusive,

Defendants.

 

 

NOTICE! 'YOU HA_V.E BEEN SUEB.. TH.E COURT_`MAY BECIDE AG'A|.NST YOU W]THOUT YOUR BE|NG
HEARD UNLESS \'OU R'ESPOND~WITH'['N 20 DAYS. .READ THE lNFO`RMATION B`ELOW. -

TO THE;.DEFENDKNT.;-~ A..Civi| Complaint has been filed by the plaintifi(s) against you i"or the relief set forth in the
Complaint.. ' .

STA TE FARM MUTUAL A UTOI|»'!OBILE I/`VSURANCE C 011’[ PANY

l. if you intend to defend this lawsuit, within'»?.i) days alter this Summons is served on you exclusive ol` lhe date ol`
scrvicc, you.must do the -foliowing: ~

a. File with the Clerl'< of this Court,~whose address is shown below, a formal written response to the
Complaint in accordance with the rules of the Coun.
b. _Serve a copy of your response upon the attorney whose name and address is shown below.
2. Unless you respond your default will be entered upon application of the plaintiff(s) and this Court may

enter a judgment against you for the rehef demanded 111 the" Complaint, which could result m the taking of money or propeny
or other rehef requested m the Complaint

3. _l't` you intend to seek the advice of an attomey in this matter, you should do so promptly so lhat your
response may be filed on time. -

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No. 1023l _ - County Courthouse Oi'idlna Ar'.‘.`lOS
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case Number; A-1a-775390-c '

 

 

 

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COMP sTATE 01= NEVADA '

MARK G. HENNESS, ESQ.
Nevada Bar No. 5842
JACOB S. SMITH, ESQ.
Nevada Bar No. 10231

 

 

 

 

 

 

 

HENNSS & I~IAIGHT
8972 Spanish Ridge Avenue
Las Vegas, Nevada 89148
(702) 8623200
Atlorneysfor Plaintlfi?’
DISTRlCT COURT
CLARK COUNTY, NEVADA
WENDY EVELAND-BLACK, individually, . A_-l 8_775390_0
Case No .:
Plaintiffs, _ Dept. No.:
vs_ Department 30

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, an entity licensed
to do business in Nevada; DOES I through X;
and ROE CORPORATlONS, XI through XX,
inclusive,

Defendants.

 

 

COMPLA[NT

COMES NOW, Plaintiff, WEND¥ EVELAND-BLACK, by and through her attorneys,
MARK G. HENNESS, ESQ. and JACOB S. SMJTH, ESQ., of the law Hrm of HENNESS &
HAIGHT, and for her causes of action against Defendants, and each of them, allege as follows:

1. That at all times relevant hereto, Plaintiff, WENDY EVELAND-BLACK
(“Plaintiff” , was a resident of the County of Clark, State of Nevada.

2. That all of the material facts and circumstances that give rise to the subject lawsuit
occurred in the County of Clark, State of Nevada.

///

 

Case Number: A-18-775390-C

 

 

 

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3. That at all times relevant hereto, Defendant, STATE FARM AUTOMOBILE
TNSURANCE COMPANY, was and is a duly licensed business entity authorized to conduct
business in Nevada as an insurance company and conducting said business in Nevada, including
offering for sale insurance products, such as the policy of insurance sold to Plaintiff, for the benefit
of Plaintiff as more iillly set forth below.

4. Plaintiff’s Complaint states a controversy over which this HOnOl'abl€ Court has
jurisdiction and venue is properly in this Court as Plaintiff is a resident cf Clark County, Nevada;
Defendant does business within Clark County, Nevada; the relevant poficy of insurance was
underwritten and covered Plaintiff for her use of the motor vehicle in Ciark County, Nevada; the
relevant policy of insurance was written to insure, inter alia, against loss to Plaintin in Clark
County, Nevada; the loss, injuries and damages incurred by Plaintiff that underlie the claim against
Defendants occurred while Plaintiff was in Clarlc County, Nevada; and benefits due from the
policy of insurance and damages claimed by Plaintiff were due and payable in Clarlc County,
Nevada.

5. That the identities of the Defendant DOES l through X, and ROE Corporations
XI through XX are unknown at this time and may be insurance agents, individuais, partnerships
or corporations Plaintiff alleges that each of the Defendants designated herein as DOES l
through X and ROE Corporations XI through XX are responsible in some manner either
through their individual acts or negligent omissions for the damages herein alleged. Plaintiff
will request leave cf the.Court to amend this Complaint to name the identity of the additional
DOE and KOE Defendants when their identities become lthoer
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FACTS OF THE DISPUTE

 

6. Plaintiff repeats and realleges each and every allegation contained in Paragraphs
l through 5 above and incorporates the same by reference as though the same were fully set
forth herein

7 . That prior to Novemher 6, 2012, in Clarlr- County, Nevada, Plaintiif entered into
an ius\uance contract with Defendant, STATE FARM AUTOMOBILE INSURANCE
COMPANY, bearing policy number 006060128G (the “policy”), Whereby Defendant, STATE
FARM AUTOMOBILE ]NSURANCE COMPANY agreed to provide Plaintiff with, among
other coverages, $50,000 per person / $100,000 per accident in Underinsured Motorist
Protection bellctits; and in reliance upon Defendant’s representations, Plaintifl` purchased said
underinsured motorist policy from Defendant and that on November 6, 2012, said coverage was
in force.

s. As a policy homer or sTATE FARM iAUToMoBILE INsUnANcE
COMPANY, Plaintiff Was insured within Nevada Revised Statutes §686a.310, inter alia.

9. That on Novembcr 6, 2012, Plaintiff was involved in a serious motor vehicle
collision as the sole result of the negligence of non-party tortfeasor, Rose Cutlip, an
underinsured motorist as per the definition of such in said insurance contract

10. As a direct and proximate result of said collision, Plaintiff suffered serious and
permanent injuries

ll. At the time of the subject collision, non-party tortfeasor, Rose Cutlip, was an
underinsured driver.

12. As a further direct and proximate result of said. collision, Plaintiff incurred

expenses for medical care and treatment

 

 

 

 

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13. At the time of the subject eollision, Plaintiff was insured by Defendent, STATE
FARM AUTOMOBILE INSURANCE COMI’ANY, sued lierein, according to the above-
described contract, and other policies issued by DOES I through X, and Roe Corporations XI
through XX which provided Plaintiff various forms cf motor vehicle coverage, including
benefits for compensation resulting from injuries and damages caused by underinsured
motorists

14. That by contract, Defendant, STATE FARM AUTOMOBILE INSURANCE
COMPANY, is obligated t`o fully compensate Plaintiff for the harms and losses she sustained in
the subject motor vehicle eollision, up to the limits of her coverage as noted in Paragraphs 7 and
8.

15. Following the collision, Plaintiff timely presented Defendant, STATE FARM
AUTOMOBILE INSURANCE COMPANY, With all of her collision_related medical records
and bills and made e request for contractual underinsured motorist policy benefits from
Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY.

16. When Defendant, STATE FARM AUTOMOBILE lNSURANCE COMPANY
evaluated Plaintist claim, it subsequently made no offer to Plaintiff for underinsured motorist
protection benefits to resolve her claim, which is insufficient to compensate her for her losses.

17. That Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY,
chose to tetain doctors to review the medical records of Plaintiff and/or perform medical
examinations of Plaintiff, which doctor(s) Defendant had reason to believe would provide
certain medical opinions which would support Defendant's pre-detenninations as to Plaintiff' s

claims.

 

 

 

 

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18. That Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY,
owed and still owes to Plaintiff the highest of duties in considering her claim for underinsured
motorist benefits, which claims Plaintiff incurred as a result of disabling personal injuries,
Which she sustained as a result cfa car collision, as set forth herein. Defendant, STATE FARM
AUTOMOBILE INSURANCE COMPANY, was and is obligated under the policy issued to
Plaintiff and by Nevada law to give at least equal consideration to Plaintiff"s interests as to its
own interests

19. That as a result of Defendant, STATE FARM AUTOMOB}LE INSURANCE
COMPANY’s limited, self-serving investigatiqu and other conduct, Defendant is in breach of
the Insurance contracts between the parties and said breach has resulted in damages incurred by
Plainde in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00) in an amount to be
determined at trial.

20. 'l` hat as of the date of filing, Plaintiff had incurred medical expenses amounting
to $53,700.06, as a direct result of the November 6, 2012 collision.

l FlRST QLAIM FOR RELIEF
(Breach of Covena.ut of Good Faitb/Insurance Bad Faith)

21. Plaintift` repeats and realleges each and every allegation contained in Paragraphs
l through 20 above and incorporates the same by reference as though fully set forth herein.

22. That Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY,
breached the inherent duty of good faith and fair dealing owed to Plaintiff when it chose n_ot to
evaluate Plaintii’f` s claims reasonably and in good faith.

23. That Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY,

and/or its agents, also breached the duty known as the “special relation duty" owed by insurer to

 

 

 

 

 

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Plaintiff, as provided for by the policy of insurance

1 its insured constituting the tort of insurance bad faith, when it chose n_ot to reasonably, properly,

fairly, and timely evaluate and tender reasonable underinsured motorist policy benefits owed to

24. 'i`hat as a proximate result of the unreasonable and wrongful conduct of

5 Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY, and each of them,

1 Plaintifi` has suffered financial damages, anxiety, worry, mental and emotional distress and

THoUsAND DoLLARs (`$15,000.00).
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other incidental damages all to Plaintiff's general damage in an mount in excess of FIFTEEN

2.5. Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY’s

12 conduct described herein was intended to cause injury to Plaintiff, and Was despicable conduct

13 carried on by Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY; was

14 done with a willful and conscious disregard of Plaintiff‘s rights,. subjecting Plaintiff to cruel and

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unjust hardship; and was an intentional misrepresentation1 deceit, or concealment of material
facts known to Defendant with the intention, implied or in fact, to deprive Plaintifi` of property,

legal xights, or to otherwise oppress and/or cause injury, such as to constitute malice,

19 oppression, or fraud within Nevada Revised Statutes 42.0`05, entitling Plaintiff to punitive

2° and/or exemplary damages in an amount sufficient to punish or set an example of Defendant,

21 sTATE FARM AUToMoBILE INSURANCE coMr>ANY.

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§ECOND CLAIM FOR RELIEF
(Violation ofUnfa.ir Clairn Practices Act)

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25 26. Plaintiff repeats and realleges each and every allegation contained in Paragraphs

26 l through 25 above and incorporates the sarno by reference as though fully set forth herein.

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27. Defendant, STATE FARM AUTOMOBILE lNSURANCE COMPANY, is a
member of the class of entities intended to be regulated by Nevada Revised Statutes 686A.310,
et scq.

28. Plaintil’f is a member of the class of persons sought to be protected by Nevada
Revised Statutes 686A.310, el seq.

29. By the aforesaid acts and omissions, Defendant, STATE FARM AUTOMOBILE
INSURANCE COMPANY, has violated its statutory duties contained within Nevada Revised
Statutcs 686A.310, et seq. bj', among other things:

a. Misrepresenting to Plaintifi~` pertinent facts or insurance policy provisions
relating to the coverage at issue:

b. Choosing not to acknowledge and/or act promptly upon communications
with respect to claims arising under the Policy;

c. Choosing not to adopt and implement reasonable standards for the
prompt investigation and processing of claims arising under insurance policies;

d. \ Choosing not to zile or deny coverage of claims within a reasonable
time after proof of loss requirements have been completed and submitted by the insured:

e-. Choosing not to e&`eetuate prompt, fair and equitable settlements of
claims in which liability of the insurer has become reasonably clear,

f. Compelling Insureds to litigate to recover benefits due under Policies;

g. Choosing not to provide promptly to an insured a reasonable explanation
of the basis in the insurance policy, with respect to the facts of the insured’s claim and
the applicable Nevada law, for the denial of the claim or for a reasonable offer to settle

or compromise the claim; and

 

 

 

 

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h. Choosing to retain doctors to review Plaintiti"s_ medical records and/or
perform medical examinations while having reason to believe that the chosen doctors
would not be objective in their opinions;

30. Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY‘s
conduct described herein was intended to cause injury to Plahltifl`, and Was dcspicable conduct
carried on by Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY, with a
willful and conscious disregard of Plaintist rights, subjecting PlaintH to cruel and unjust
hardship in conscious disregard of Plaintil’f’s rights and was an intentional misrepresentation
deceit, or concealment of material facts known to Defendant with the intention, implied or in
fact, to deprive Plaintiff of property, legal rights, or to otherwise oppress and/or cause injury,
such as to constitute maiice, oppression, or fraud within Nevada Revised Statutes 42.005,
entitling Plaintift` to punitive and/or exemplary damages in an amount sufficient to punish or set
an example of Defendant, STATE FARM AUTOMOBILE INSURANCE COMPANY.

TH_IB__D_ CLAIM FOR RELIEF
(Breach of Contract)

31. Plaintift` repeats and reallech each and every allegation contained in Patagraphs
l through 30 above and incorporates the same by reference as though fully set forth hcrein.

32. At all relevant times, Plaintiff paid all premiums du'e and fulfilled all contractual
duties and obligations required of her within the poliey. Plaintiff was an insured within the
respective policy. Plaintiff did nothing to disqualify herself for coverage within the policy.

33. Despitc the policy being in full force and effect at the time of the subject

collision on November 6, 2012, Defendant, STATE FARM AUTOMOBILE INSURANCE

 

 

 

 

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CGMPANY, failed to adequately investigate Plaintist claim and now refuses to pay benefits
owed to Plaintiff.

34. As a direct and proximate result of Defendant, STATE FARM AUTOMOBILE
INSURANCE COMPANY’S conduct and material breach of the respective policies, Plaintiff
was compelled to retain counsel to tile this Complaint to obtain the benefits of the contracts
negotiated by the parties within the policy and specifically for the benefits long overdue to
Plaintiff.

35. Defendant, STATE FARM AUTOMOBILE lNSURANCE COMPANY, is liable
to Plaintiff for the attorneys’ fees and costs incurred by Plaintiff in bringing this Complaint to
enforce the terms of the Policy. v

WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them as
follows:

l. For contractual damages up to the amount of the underinsured motorist policy

limits applicable to Plaintiff;

2- For general damages in an amount in excess of FIFTEEN THOUSAND

DOLLARS ($15,000.00);

3. For medical and incidental expenses incurred and to be incurred resulting from

the subject collision caused by the underinsured driver;

4, For exemplary and punitive damages in an amount sufficient to punish or make

an example of Defendant, STATE FARM AUTOMOBILE INSURANCE
COMPA`NY; and

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Case 2:18-CV-014O4-RFB-CWH Document 1 Filed 07/27/18 Page 18 of 21

(`/J;

CSC

 

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.. . Transmittal Number: 18389077

Notice of Service of Process mate Processed= owes/2018
Prlmary Contact: State Farm Enterprise SOP

Corporation Service Company~ Wilmington, DELAWARE
251 Little Falls Dr
Wilmington, DE 19808-1674

 

Entity:

Entlty Served:

Tltle of Action:
Document(s) Type:
Nature of Action:
Court/Agency:
Case/Reference No:
Jurisd|cl:lon Served:
Date Served on CSC:
Answer or Appearance Due:
Origina|ly Served On:
How Served:

Sender lnformation:

State Farm l\/lutual Automobi|e lnsurance Company
Entity lD Number 3461675

State Farm l\/lutual Automobile lnsurance Company
Wendy Eveland-Black vs. State Farm l\/lutua| Automobile Insurance Company
Summons/Complaint

Contract

C|ark County District Court, Nevada

A-18-775390-C

Nevada

07/03/2018

20 Days

NV Department of Business and lndustry on 06/28/2018
Certified l\/lail

Jacob S. Smith
702-862-8200

 

lnformation contained on this transmittal form is for record keeping, notification and fon/varding the attached doc_ument(s). lt does not
constltute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC

251 Little Falls Drive.Wilmington,De|aware19808-1674 (888)690~2882 | sop@cscglobal.com

 

 

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BR[AN SANDOVAL STATE OF NEVADA C.J. MANTHE

Governor Director

BARBARA D. RlCHARDSON
Commissioner

 

DEPAR'IMENT OF BUSlNESS AND INDUSTRY
DIVlSlON OF lNSURANCE
3300 West Sahara Aveuue, Suite 275
Las Vegas, Nevada 89102»3203
(702) 4864009 ° Fax (702) 486»4007
Website: doi.nv.gov
E-mail: insiufo@doi.nv.gov

July 2, 2018
State Farm Mutual Automobile Insurance Company
- c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B

Las Vegas, NV 89119-6727

RE: Wendy Eveland-Black vs. State Farm Mutual Automobile Insurance Company, et al.
District Court, Clark County, Nevada
Case No. A~18-775390-C

Dear Sir or Madam:
Enclosed please find the following documents: Summons and Complaint. These
documents have been served upon the Commissioner of Insurance as your attorney for service of

process on June 28, 2018.

The appropriate action should be taken immediately, as you may only have 30 days from
the date of this service to respond.

If you have any questions regarding this service, please advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

By¢ M¢L(ME_
RHONDA KELLY

Service of Process Clerk
Enclosures

c: Jacob S. Smith, Esq.

 

 

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PROOF OF SERVICE

 

l hereby declare that on this day I served a copy of the Summons and Complaint upon
the following defendant in the within matter, by shipping a copy thereof, via Certitied mail,
return receipt requested, to the following:

State Farm Mutual Automobile Insurance Company
c/o CSC Services of Nevada, Inc.

2215 Renaissance Dr., Ste. B '

Las Vegas, NV 89119»6727

CERTIFIED MAIL NO. 7016 3010 0000 0486 4590

I declare, under penalty of perjury, that the foregoing is true and correct.

DATED this 2““ day ofru1y, 2018.

MQQA

RHONDA KELLY

Employee of the State of Nevada
Department of Business and Industry
Division of Insurance

RE: Wendy Eveland~Black vs. State Farm Mutual Automoblle Insurance Company, et al.
District Court, Clark County, Nevada
Case No. A-18-775390-C

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copy of the original.

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Case 2:18-cv-01404-RFB-CWH Document 1 Filed 07/27/18 Page 21 of 21

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BRIAN SANDOVAL STATE 0 F NEVADA C.J. MANTHE

Goremor Direclor

BARBARA D. RICHARDSON

Commissioner

 

DEPARTMENT OF BUSINESS AND INDUSTRY
DIVISION OF INSURANCE
3300 West Sahara Avenue, Suite 275
Las Vegas, Nevada 89102»3203
(702) 4864009 ° Fax (702) 4864007
Website: doi.nv.gov
E'mail: insinfo@cioi.uv.gov

July 2, 2018

Jacob S. Srnith, Esq.
HENNESS & HAIGHT
8972 Spanish Ridge Ave.
Las Vegas, NV 89148

RE: Wendy Eveland-Black vs. State Farm Mutual Automobile Insurance Company, et al.
District Court, Clark County, Nevada
Case No. A~18-775390-C

Dear Mr. Smith:

The Division received the service of process documents on June 28, 2018, regarding the
above-entitled matter. Service has been completed on State Farm Mutual Automobile Insurance
Company this date and enclosed are the following: '

l. A copy of our letter to State Farm Mutual Automobile Insurance Company dated
July 2, 2018;'

2. A certified copy of the Proof of Service dated July 2, 2018‘, and

3. Your receipt in the amount Of $30.00.

Pursuant to Nevada Revised Statutes (NRS) 680A.260, 685A.200, and 685B.050, all
documents after initial service of process may be served directly to the party.

If you have any questions regarding this service, please so advise.
Sincerely,

BARBARA D. RICHARDSON
Commissioner of Insurance

By: …

RHONDA KELLY \3
Service of Process Clerk
Enclosures

c: State Farm Mutual Automobile Insurance Company

 

 

